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                                                                                         FILED
                             IN THE UNITED STATES DISTRICT                            1:31 pm Oct 11 2022
                           FOR THE NORTHERN DISTRICT OF OHIO                       Clerk U.S. District Court
                                    EASTERN DIVISION                               Northern District of Ohio
                                                                                         Cleveland
JOHN KOE,                                    :       CASE NO. 1:22-cv-1455-DAP
                                             :
               Plaintiff                     :       JUDGE DANIEL A. POLSTER
                                             :
       v.                                    :
                                             :
UNIVERSITY HOSPITALS HEALTH                  :
SYSTEM, INC., et al.                         :
                                             :
               Defendants.                   :

                ORDER GRANTING DEFENDANTS’ MOTION FOR A
            PROTECTIVE ORDER SEEKING AN ORDER THAT REQUIRES
             PLAINTIFF TO COMMUNICATE ONLY WITH DEFENDANTS’
            COUNSEL OF RECORD WITH RESPECT TO THIS LITIGATION

       This matter has come before the Court on the Defendants University Hospitals Health

Systems, Inc. (“UHHS”) and University Hospitals Cleveland Medical Center (“UHCMC”)

(UHHS and UHCMC are collectively, “Defendants”) motion for a protective order seeking an

order that requires Plaintiff John Koe “(Plaintiff”) to Communicate only with Defendants’

counsel of record with respect to this litigation (the “Motion”) (ECF # 5) and the declaration of

David A. Campbell attached to the motion (ECF # 5-1), and the Court having considered the

facts and arguments raised in the Motion, grants Defendants’ Motion.

       Rule 26(c)(1) of the Federal Rules of Civil Procedure permits a court to “issue an order to

protect a party or person from annoyance, embarrassment, oppression, or undue burden or

expense.” Fed. R. Civ. P. 26(c)(1). Courts have the discretion to issue Rule 26(c)(1) protective

orders to protect parties from improper communications directly from pro se plaintiffs. See, e.g.,

Yao v. Oakland Univ., No. 2:21-cv-10523, 2022 U.S. Dist. LEXIS 11428, *3 (E.D. Mich. Jan.

20, 2022). A court will find good cause for the order upon the moving party demonstrating the



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facts underlying the need for the order. See Smolko v. Mapei Corp., No. 6:21-cv-25, 2022 U.S.

Dist. LEXIS 44090, *8 (E.D. Ky. Feb. 10, 2022).

       This Court finds that Defendants have presented sufficient facts and evidence in both the

Motion and the declaration of David Campbell attached thereto, demonstrating consistent and

routine inappropriate communications from pro se Plaintiff John Koe directly to various

employees of the Defendants. Such direct communications support a Rule 26(c)(1) protective

order in favor of Defendants. See Fed. R. Evid. 26(c)(1); see also Smolko v. Mapei Corp., No.

6:21-cv-25, 2022 U.S. Dist. LEXIS 44090, *8 (E.D. Ky. Feb. 10, 2022). Accordingly, IT IS

THEREFORE ORDERED, ADJUDGED, AND DECREED that Defendants’ Motion is

GRANTED, and that this Court will issue a protective order that (1) prohibits pro se Plaintiff

John Koe from communicating directly with Defendants’ officers, Defendants’ employees, and

Defendants’ affiliates; and (2) ordering pro se Plaintiff John Koe to direct all communications to

Defendants’ counsel of record.



                                                    ________________________10/11/2022
                                                    Judge Daniel A. Polster




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